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In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-03-00134-CR
____________

ISAEL BALLEJOS, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 344th District Court
Chambers County, Texas
Trial Court Cause No. 12157



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant pleaded guilty to possession of cocaine weighing 200 grams or
more, but less than 400 grams.  In accordance with a plea bargain agreement with the
State, the trial court sentenced appellant to confinement for 12 years. Appellant filed
timely notice of appeal.  We dismiss for lack of jurisdiction.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Newly-amended Rule 25.2(a) of the Texas Rules of Appellate Procedure
provides, in pertinent part:

In a plea bargain case — that is, a case in which a defendant’s
plea was guilty or nolo contendere and the punishment did not
exceed the punishment recommended by the prosecutor and
agreed to by the defendant — a defendant may appeal only:

&nbsp;
(A)those matters that were raised by written motion filed and
ruled on before trial, or

&nbsp;
(B)after getting the trial court’s permission to appeal.



Tex. R. App. P. 25.2(a)(2).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court’s certification of defendant’s right of appeal states that this
“is a plea-bargain case, and the defendant has NO right of appeal.”  

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, we dismiss the appeal for lack of jurisdiction.

PER CURIAM

Panel consists of Justices Taft, Keyes, and Higley.

Do not publish.   Tex. R. App. P. 47.2(b).


